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FoR THE wEsTERN DIsTRiCr oF TENNESSEE " 'C'
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RoBERT L. GERVls, JR., m M
Plaintiff, Vyf@ gt mt §,M'€-PH:S
v. No. ill-2934 B

SEARS, ROEBUCK AND CO.,

Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION FOR RECONSIDERATION
OF ORDER TAX[NG COSTS

 

In his complaint, as amended, the go Y‘ Plaintiff, Robert L. Gervis, Jr., alleged that his
fenner employer, Sears, Roebuck and Co. ("Sears"), acted in Violation of the Employee Retirement
Income Security Act of 1974, 29 U.S.C. § 1001 e_t _s;q; (ERISA); the Family and Medical Leave Act,
29 U.S.C. § 2601 §§ M (FMLA)', the Fair Labor Standards Act, 29 U.S.C. §§ 201-19 ("FLSA"); and
the Americans with Disabilities Act, 42 U.S.C. § 1210] , e_t gm (ADA), as well as various Tennessee
state laws. The Plaintiff‘s claims were dismissed in orders entered by this Court on June 21, 2004
and March 7, 2005. On April 7, 2005, the Defendant filed a bill of costs in the amount of 52,161.00.
Pursuant to LR54.l(b), Local Rules of the United States District Court for the Western District of
Tennessee (the "Local Rules"), a taxation of costs hearing was conducted on April 15, 2005.

The Clerk allowed costs in the amount of Sl ,933.00, finding that Sears, the prevailing party,
was entitled to such an award in accordance With Rule 54(d)(1) of the Federal Rules of Civil

Procedure and 28 U.S.C. § 1920. The taxation award represented the costs of depositions reduced

 

1The Plaintiff was at one point in this litigation granted appointment of counsel, who later

was allowed to withdraw.
`I`his document entered on the docket sheet In compliance go
with Ru|e 58 and!or 79(a) FHCP on {“ 12 " §§ §

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by the amount of administrative costs, which the Clerk determined to be business costs and,
therefore, not taxable The Plaintiff has appealed the tax award on the grounds of inability to pay.
Sears has filed no response to the motion, although the time for such response has expired. w
LR'/'.Z(a)(£), Local Rules.

Rule 54(d) provides that "costs other than attomeys' fees shall be allowed as of course to the
prevailing party unless the court otherwise directs." Fed. R. Civ. P. 54(d)(1). There is apparently
no dispute that Sears is the "prevailing party“ in this matter. ln addition, § 1920 expressly permits
recovery of taxable costs for expenses, including court reportingl 28 U.S.C. § 1920(2). The
language of Rule 54 "creates a presumption in favor of awarding costs, but allows denial of costs at
the discretion of the trial court.“ Singleton v. Smith, 241 F.3d 534, 539 (6th Cir. 2001) (quoting
White & White. lnc. v. American Hosp. Sunplv Corp., 786 F.Zd 728, ?30 (6th Cir. 1986)). "lt is
incumbent upon the unsuccessful party to show circumstances sufficient to overcome the
presumption favoring an award of costs to the prevailing party." Moore v. Northwest Airlines, No_
Civ.A. 04CV70560DT, 2005 WL 1348635, at *1 (E.D. Mich. Apr. 22, 2005) (gMg White &

White Inc., 786 F.Zd at 731). As the Sixth Circuit articulated in Singleton,

 

[W]e have identified several factors a losing party may put forward that may be
sufficient to justify a district court in overcoming the presumption in favor of a cost
award, including the losing party‘s good faith, the difficulty of the case, the winning
party‘s behavior, and the necessity of the costs. Although the ability of the winning
party to pay [its] own costs is irrelevant, another factor weighing in favor of denying
costs is the indigency of the losing party. . . . [l]n forma pauperis status Will not by
itself provide an automatic basis for denying taxation of costs against an unsuccessful
litigant.

Singleton, 241 F.3d at 730 (internal citations omitted). ln support of his motion to reconsider the

award, Gervis maintains that he is "on Social Security and simply unable to pay" and refers to the

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fact that he was granted leave to proceed in fo_rma pa_u}£ri_s in this matter on December 6, 2001.
"The burden is on the losing party to show that [he] is unable, as a practical matter and as a matter
of equity, to pay the defendant's costs. To invoke the inability to pay factor, a party must
demonstrate not merely that payment would be a burden, but that [he] is indigent." Tuggles v.
Leroy»Somer, lnc., 328 F.Supp.2d 840, 845 (W.D. Tenn. 2004) (intemal citations omitted). "A party
is indigent if [he] is incapable of paying the court-imposed costs at this time or in the future." Ld.
(citation and internal quotation marks omitted).

Although the Plaintiff has failed to submit to the Court an affidavit setting forth his current
financial status, his affidavit for ig fo_rr@ pa_ulm status, filed November 16, 2001, reflected that
he was divorced and paid some sort of maintenance or support, even though he listed no children
He reported that he was unemployed, owned a 1996 Mercury Sable automobile, and had 879.18 in
his bank account. Gervis also stated that he spent 8180 per month on heart medication, and that his
creditors included the Chapter 13 bankruptcy trustee and a credit card company. A hospital bill was
listed in excess of $37,000 along with doctor bills of an unspecified amountl The nature of any
Social Security benefits, either in 2001 or presently, is unknown. Nor is there any indication as to
whether Gervis will be able to work in the future.

Upon careful consideration, the Court finds that the Plaintiff has failed to carry his burden
of overcoming the presumption in favor of the cost award. Since the information contained in the
2001 affidavit is too far removed in time from the Court's present determination to be of any real
value, the only relevant evidence offered by the Plaintiff consists of his in fo_rrn_a @p_er_i§ status in
this action and the fact that he receives Social Security benefits. As the Court has previously noted,

i_n forma pauperis status is not sufficient on its own to mandate a waiver of costs. gee Singleton, 241

 

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F.3d at "/`30. Moreover, the Court has not been apprised by Gervis of either the amount of any
benefits he receives or the existence of any current liabilities and/or expenses. Without more, the
Court is simply unwilling to assume that waiver is warranted, particularly in light of the relatively
small sum awarded lndeed, the parties are permitted, and encouraged, to devise a mutually
satisfactory payment plan. S_e_e Eggle_s, 328 F.Supp.2d at 846 (while cost award to defendant was
upheld, plaintiff with little financial means was permitted to work out a plan for the payment
thereof). With respect to the remaining Singleton factors, there is nothing to suggest that Gervis
instituted this action in bad faith or that the winning party's behavior was egregiousl The case, while
clearly contested, and the applicable law were not difficult §_e§ gi_. ("Just because a matter is
contested does not mean it is close and difficult"). Finally, the necessity of the costs awarded has
not been disputed by the Plaintiff.
Based on consideration of the relevant factors, the motion is DENIED.

rr is so oRDERED this 5 <Dday ofiuiy, 2005

dodd

UIEL BREEN
UNIT D STATES DISTRICT JUDGE

   

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This notice confirms a copy of the document docketed as number 80 in
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US DISTRICT COURT

